
65 So.3d 142 (2011)
Morris HAWKINS, Petitioner,
v.
FLORIDA PAROLE COMMISSION, Respondent.
No. 1D10-5046.
District Court of Appeal of Florida, First District.
July 7, 2011.
Morris Hawkins, pro se, Petitioner.
Sarah J. Rumph, General Counsel, Florida Parole Commission, and Anthony Andrews, Assistant General Counsel, Tallahassee, for Respondent.
PER CURIAM.
Consistent with the Florida Parole Commission's proper concession of error, the petition for writ of certiorari is granted, and the circuit court's order denying mandamus relief is quashed. The matter is remanded to the circuit court for further proceedings consistent with Alday v. Florida Parole Comm'n, 58 So.3d 327 (Fla. 1st DCA 2011).
PADOVANO, WETHERELL, and MARSTILLER, concur.
